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Laurie Bridgers
Cajun Navy 2016
PO BOX 977
Watson, LA. 70786
January 3, 2020

Texas Real Estate Commission
PO BOX 12188
Austin, TX. 78711

Dear Texas Real Estate Commission:

Cajun Navy 2016 is grateful to have Ryan Nichols as a volunteer. Ryan is a leader and highly
motivated to serve others. He is always one of our first volunteers to step up during times of
need. We have been honored to have him as a part of our team for over a year. During which he
responded to multiple missing persons, Hurricane Barry, and Hurricane Imelda.

Ryan is valued for his many virtues including; honesty, dedication, heart to serve, and leadership
abilities.

As part of his responsibilities, Ryan leads a team of volunteers into areas affected by disasters to
provide water rescue, first aid, supplies, and debris removal.

If you would like additional information about Ryan you can feel free to contact me at (225)
955-2346 or laurie@cajunnavy2016.org.

Sincerely,

Laurie Bridgers
Vice-President, C.0.0.

P.O. Box 977, Watson, LA 70786
833.225.8616 [Phone] 225.347.5314 [Fax]
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